                                      NO. 12-24-00229-CR
                             IN THE COURT OF APPEALS
                  TWELFTH COURT OF APPEALS DISTRICT
                                         TYLER, TEXAS


IN RE:                                                §

BILLY RAY PEGUES,                                     §       ORIGINAL PROCEEDING

RELATOR                                               §

                                      MEMORANDUM OPINION
                                          PER CURIAM
        Billy Ray Pegues, acting pro se, filed this original proceeding to complain of
Respondent’s failure to rule on his motion seeking a bond reduction. 1 On July 19, 2024, the
Clerk of this Court informed Relator that his petition fails to comply with appellate Rules 52.2,
52.3(a)-(h), (j)-(k) and 52.7. See TEX. R. APP. P. 52.2 (designation of parties); see also TEX. R.
APP. P. 52.3 (contents of petition); TEX. R. APP. P. 52.7 (record). The notice warned that the
petition would be referred to this Court for dismissal unless Relator provided an amended
petition before July 29. This deadline passed without an amended petition or other response
from Relator. 2
        Generally, a party seeking mandamus relief must bring forward all that is necessary to
establish his claim for mandamus relief. See TEX. R. APP. P. 52. Texas Rule of Appellate
Procedure 52.7 requires the relator to file a record as part of his petition in an original


        1
          Respondent is the Honorable Robert K. Inselmann, Jr., Judge of the 217th District Court in Angelina
County, Texas. The State of Texas is the Real Party in Interest.

        2
            Pro se litigants are held to the same standards as licensed attorneys and must comply with all
applicable rules of procedure; otherwise, pro se litigants would benefit from an unfair advantage over parties
represented by counsel. In re Guerrero, No. 12-21-00100-CR, 2021 WL 3412558, at *1 n.3 (Tex. App.—
Tyler Aug. 4, 2021, no pet.) (mem. op., not designated for publication).
proceeding. TEX. R. APP. P. 52.7. Specifically, a relator must file (1) a certified or sworn copy
of every document that is material to his claim for relief and that was filed in any underlying
proceeding; and (2) “a properly authenticated transcript of any relevant testimony from any
underlying proceeding, including any exhibits offered in evidence, or a statement that no
testimony was adduced in connection with the matter complained.” TEX. R. APP. P. 52.7(a). It
is a relator’s burden to provide this court with a record sufficient to establish the right to
extraordinary relief. See In re Daisy, No. 12-13-00266-CR, 2014 WL 5577068, at *2 (Tex.
App.–Tyler Aug. 29, 2014, orig. proceeding) (mem. op., not designated for publication).
         In this case, Relator did not provide a record in accordance with Rule 52.7. Absent a
record, we cannot determine whether Relator is entitled to mandamus relief. See In re
McCreary, No. 12-15-00067-CR, 2015 WL 1395783 (Tex. App.–Tyler Mar. 25, 2015, orig.
proceeding) (per curiam) (mem. op., not designated for publication). Accordingly,
we deny Relator’s mandamus petition.



Opinion delivered August 7, 2024.
Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.




                                             (DO NOT PUBLISH)




                                                          2
                                  COURT OF APPEALS
     TWELFTH COURT OF APPEALS DISTRICT OF TEXAS
                                          JUDGMENT


                                           AUGUST 7, 2024

                                        NO. 12-24-00229-CR



                                       BILLY RAY PEGUES,
                                             Relator
                                               V.

                       HON. JUDGE ROBERT K. INSELMANN JR.,
                                    Respondent


                                       ORIGINAL PROCEEDING

              ON THIS DAY came to be heard the petition for writ of mandamus filed by Billy
Ray Pegues; who is the relator in appellate cause number 12-24-00229-CR and the defendant in
trial court cause number 2019-0706, pending on the docket of the 217th Judicial District Court of
Angelina County, Texas. Said petition for writ of mandamus having been filed herein on July
19, 2024, and the same having been duly considered, because it is the opinion of this Court that
the writ should not issue, it is therefore CONSIDERED, ADJUDGED and ORDERED that the
said petition for writ of mandamus be, and the same is, hereby denied.
                   By per curiam opinion.
                   Panel consisted of Worthen, C.J., Hoyle, J. and Neeley, J.
